                Case 22-10584-CTG               Doc 1033        Filed 11/14/23         Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    FIRST GUARANTY MORTGAGE                                  Lead Case No. 22-10584 (CTG)
    CORPORATION, et al.,1
                                                             Case No. 22-10583 (CTG)
                  Liquidating Debtors.                       Adv. Pro. No. 22-50387 (CTG)

                                                             (Jointly Administered)

                                                             Relates to Case No. 22-10583 D.I. 11

                                               STATUS REPORT

         Tanya Meerovich, solely in her capacity as liquidating trustee (the “Liquidating Trustee”)

of the liquidating trust (the “Liquidating Trust”), created pursuant to the Amended, Modified And

Restated Combined Disclosure Statement And Chapter 11 Plan Of First Guaranty Mortgage

Corporation And Debtor Affiliate (the “Plan”)2 [Lead Case No. 22-10584, D.I. 671-1] and that

certain trust agreement dated as of November 4, 2022 (the “Trust Agreement”), and the post-

effective date debtors (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

Cases”), by and through undersigned counsel, hereby files this status report in accordance with the

Notice and Order of Request for Status Report [Case No. 22-10584, D.I. 11] which provides the

following update on the status of the Chapter 11 Cases:

         1.       On November 2, 2022, the Court entered the Findings of Fact, Conclusions of Law,

and Order (I) Approving Disclosures on a Final Basis and (II) Confirming the Amended Combined



1
     The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number,
     were: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location of the
     corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901 Midway Road,
     Suite 102-334, Dallas, TX 7524.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Plan.


US_ACTIVE\125328488\V-8
               Case 22-10584-CTG         Doc 1033     Filed 11/14/23     Page 2 of 6




Disclosure Statement and Chapter 11 Plan of First Guaranty Mortgage Corporation and Debtor

Affiliate [Lead Case No. 22-10584, D.I. 671], which among other things, confirmed the Plan.

        2.       The Effective Date of the Plan occurred on November 6, 2022. See Notice of (I)

Confirmation and Effective Date of the Amended Combined Disclosure Statement and Chapter 11

Plan of First Guaranty Mortgage Corporation and Debtor Affiliate and (II) Deadline Under the

Plan and Confirmation Order to File Administrative Claims, Professional Fee Claims, and

Rejection Claims [Lead Case No. 22-10584, D.I. 678].

        3.       Since the Effective Date, the Liquidating Trustee successfully monetized its equity

in certain of its prepetition warehouse lines, including those with Flagstar Bank and Texas Capital

Bank, and liquidated FGMC’s interests in mortgage servicing rights and advances, such as those

for Servis One, Inc. d/b/a BSI Financial Services, TIAA Bank and Mass Mutual Life Insurance

Company. The Liquidating Trustee also successfully settled counterparty setoff claims with

Rushmore Loan Management Services LLC, Planet Home Lending, LLC and Lakeview Loan

Servicing LLC. The Liquidating Trustee also sold FGMC’s intellectual property, disposed of the

Debtors’ joint venture, First Line Holdings Co., and successfully repurchased and disposed of the

postpetition purchased assets under the DIP repo facility. These asset monetization efforts resulted

in a recovery in excess of $13 million. The Liquidating Trustee has distributed Net Liquidating

Trust Proceeds and Plan Reserves in accordance with section 14.5(d) of the Plan, including to

cover operating and professional expenses of the Liquidating Trust and reimburse the Cash Flow

DIP Lender for a portion of the Trust Funding Amount and the Additional Administrative Claims

Amount. The Liquidating Trustee currently retains reserves for priority and administrative claims

and expenses of the Liquidating Trust. The Liquidating Trustee expects to supplement distributions

to the Cash Flow DIP Lender to reimburse it for a portion of the Trust Funding Amount and



                                                  2
US_ACTIVE\125328488\V-8
                 Case 22-10584-CTG         Doc 1033      Filed 11/14/23     Page 3 of 6




Additional Administrative Claims Amount with additional recovery not yet received, including

but not limited to the equity in unresolved warehouse lending claims and any excess aggregate

administrative and priority claim reserves.

        4.        Since the Effective Date, the Liquidating Trustee and the Debtors have focused on

claims reconciliation and related distributions, as follows:

                 The Liquidating Trustee undertook a comprehensive review and reconciliation of

                  administrative, priority and secured claims against both Debtors’ estates. In

                  furtherance thereof, the Liquidating Trustee has, among other things, undertaken a

                  review and comparison of the scheduled and/or asserted claims and the books and

                  records maintained by the Debtors in the ordinary course of business to determine

                  the validity of such scheduled and/or asserted claims. Following such review, as

                  of November 3, 2023, the Liquidating Trustee made approximately $13.4 million

                  of distributions on allowed undisputed administrative, priority and secured claims

                  under the Plan.

                 The Liquidating Trustee’s claims reconciliation process also included the

                  identification of particular categories of claims that may be subject to, inter alia,

                  disallowance, reduction, reassignment, and/or reclassification. To reduce the

                  number of claims and avoid improper recoveries by parties asserted claims that

                  should be disallowed, reduced, reassigned, and/or reclassified, the Liquidating

                  Trustee has filed four omnibus objections to claims. [See Lead Case No. 22-10584,

                  D.I. 780, 794, 806, 823, 929, 980, 1000]. The Liquidating Trustee also filed two

                  notices of satisfaction [Lead Case No. 22-10584, 781, 928], identifying certain

                  claims filed against the Debtors’ estates that have been fully satisfied.



                                                    3
US_ACTIVE\125328488\V-8
               Case 22-10584-CTG         Doc 1033      Filed 11/14/23    Page 4 of 6




        5.       To the extent any further claims reconciliation is needed, on October 31, 2023, the

Liquidating Trustee filed a Second Motion to Extend Deadline to Object to Claims [Lead Case No.

22-10584, D.I. 1022], requesting an extension of the claims objection deadline to December 31,

2023.

        6.       Additionally, October 2, 2023, as part of the Liquidating Trustee’s efforts to wind

down the Liquidating Trust and close these Chapter 11 Cases, the Liquidating Trustee obtained

authority on to destroy certain records of the Debtors. [Lead Case No. 22-10584, D.I. 984].

        7.       The Liquidating Trustee also reached an agreement in principle with plaintiffs to

resolve the pending class action WARN adversary proceeding titled Lori Buckley, Gayle Zech,

Roberta Martinez, Jennifer Jackson and James Davies v. First Guaranty Mortgage Corp., et al.,

Adv. Pro. No. 22-50387-CTG . The parties are finalizing the settlement of this matter and intend

to file a motion under Bankruptcy Rules 7023 and 9019 approving such settlement as soon as

possible.

        8.       The Bankruptcy Court also entered orders modifying the plan injunction to permit

the plaintiffs in actions titled United States ex rel. Kari Crutcher v. First Guaranty Mortgage

Corporation, No. 16-cv-3812-Case 22-10584-CTG pending in the United States District Court for

the Northern District of Georgia [see D.I. 960] and Lynley VanSingel, et al., v. First Guaranty

Mortgage Corporation, et al., CA 4:22-cv-00525 pending in the United States District Court for

the Eastern District of Texas, Sherman Division [see D.I. 973] to proceed with the litigation to

recover against insurance.

        9.       While the Liquidating Trustee’s final monetization efforts and resolution of

remaining claims continue, the Liquidating Trust has limited remaining resources and seeks to

finalize the wind down the Liquidating Trust as soon as possible. Asset recoveries as of the date



                                                  4
US_ACTIVE\125328488\V-8
               Case 22-10584-CTG       Doc 1033      Filed 11/14/23       Page 5 of 6




of this report plus future expected asset recoveries will not be sufficient to reimburse the Cash

Flow DIP Lender for the full Trust Funding Amount and Additional Administrative Claims

Amount pursuant to section 14.5(d)(ii) of the Plan. Accordingly, after consideration of post

effective date trust expenses, the Liquidating Trustee does not anticipate making any distribution

to holders of General Unsecured Claims and, therefore, also does not expect to object to any

General Unsecured Claims.

        10.      The Liquidating Trustee anticipates filing a motion requesting the Bankruptcy

Court close these Chapter 11 Cases in either the 4th quarter of 2023 or the 1st quarter of 2024.



                           [Remainder of page left intentionally blank]




                                                5
US_ACTIVE\125328488\V-8
               Case 22-10584-CTG   Doc 1033   Filed 11/14/23   Page 6 of 6




 Dated: November 13, 2023                PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/ Laura Davis Jones
                                         Laura Davis Jones (DE Bar No. 2436)
                                         Mary F. Caloway (DE Bar No. 3059)
                                         919 North Market Street, 17th Floor
                                         P.O. Box 8705
                                         Wilmington, Delaware 19899 (Courier 19801)
                                         Tel: (302) 652-4100
                                         Fax: (302) 652-4400
                                         Email: ljones@pszjlaw.com
                                                 mcaloway@pszjlaw.com

                                                -and-

                                         Samuel R. Maizel (Pro Hac Vice)
                                         Tania M. Moyron (Pro Hac Vice)
                                         DENTONS US LLP
                                         601 S. Figueroa Street #2500
                                         Los Angeles, CA 90017
                                         Telephone: (213) 623-9300
                                         Email: samuel.maizel@dentons.com
                                                tania.moyron@dentons.com

                                         Claude D. Montgomery (Pro Hac Vice)
                                         DENTONS US LLP
                                         1221 Avenue of the Americas
                                         New York, NY 10020
                                         Telephone: (212) 632-8390
                                         Email: claude.montgomery@dentons.com

                                         David F. Cook (DE Bar No. 6352)
                                         DENTONS US LLP
                                         1900 K Street, NW
                                         Washington, DC 20006
                                         Telephone: (202) 496-7500
                                         Email: david.f.cook@dentons.com

                                         Counsel to the Liquidating Trustee




                                         6
US_ACTIVE\125328488\V-8
